PO -

. Case 4:11-cv-00210-LRA-LRA Document1 Filed 12/28/11 Page 1 of 22

z “Senta SIOaIeT sel
, FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT UNDER THE CIVIL RIGH FSv€ af 42 1 ted bas

IN THE UNITED STATES DISTRICT COURT ¢ 28 amt
FOR THE SOUTHERN DISTRICT OF saississir fit ?

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] a COMPLAINT Men csoeree ue
Lane Kul 7b Saamce

{Last Name) (idenufication Number)

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SAE ban Aenea ade — EME oO

On op MS 397
Peter Hid Léntesuile sts, 31451 gel Méede 3

(Address)
(Enter above the full name of the plaintiff, prisoner, and address

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vo, civn. ACTION NumBeR“pof HE RM 15 Lé¢Y
. / oe {io be Ai ted by the Coun)
_Tohn Ades Fidl Z Ppt

Ae hel bo LUCE eld PSF AKR
Sor AD ob. Moxubet Cri

‘Enter above the full nome of the defendani or defendants in this action}

OTHER LAWSUITS FILED BY PLAINTIFF

NOTICE AND WARNING:
The plaintiff must fully complete the following questions. Failure to do so may result in your case being dismissed.

A Have you ever filed any other lawsuits in a court of the United States? Yes(  ) Not Y)

B. If your answer to A is yes, complete the followimg information for each and every civil action and appeal filed by you. (Uifthere

is more than one action, complete the following information for the additional actions on the reverse side of this page or
additional sheets of paper.)

P ). Parties to the action:
2 Court (if federal court, name the district, if state court, name the county): _
3 Docket Number:
4 Name of judge to whom case was assigned:
5 Disposition (for example: was the case dismissed? If so, what grounds? Was it appealed? Js it still
pending?): a

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PARTIES

Qn item J below, place your name and prisoner number jn the first blank and place your present address in the second blank. Do the same
for additional plainuff, if any).

| Nameofplainntt Aa Qlo awe _ Prisoner Number. AGI 78
aadess 9, MCE Acta f - A-| -A zone

P.O. Bon I4 19

heakeville Ms yl

(in nem I] below, place the ful) name of the defendant in the first blank, his official position in the second blank, and his place of
employment in the third blank Use the space below item J] for the names, positions, and places of empJoyment of any additional
defendants.)

I]. Defendant:_ Sahat Admas, Ko hecT (oer Sec pte - isemployed as
M.D.OC Frobation offi ca « Nowubee (ogi ty”
Fitlo Of FiGsk For Noxubee loudty MO.0.C

The plaintiffis responsible for providing the court the name and address of each plaintiff(s) as well as the name(s) and address(es)
of each defendant(s). Therefore, the plaintiff is required to complete the portion below:

PLAINTIFF

NAME; ADDRESS:
DEFENDANT(S):

NAME: ADDRESS:

B.

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GENERAL INFORMATION
At the ime of the incident complained of in this complaint, were you incarcerated because you had been convicted of a crime?
Yes(  ) No( J)
Ave you presently incarcerated for a parole or probation violation?
yes( ) No(W)

At the time of the incident complained of in this complaint, were you an inmate of the Mississipp! Department of Corrections
(MDOC)?

Yes( ) No J

Are you currently an mmate of the Mississippi: Department of Corrections (MDOC)?
Yes CS) No( )
Have you completed the Administrative Remedy Program regarding the claims presented 1n this complaint?

Yes ( U) No( _ ), if so, state the results of the procedure: RLO VE

Jf you are not an imate of the Mississippi Department of Corrections, answer the following questions:

] Did you present the facts relating to your complaint to the administrative or grievance procedure in your institution?
Yes at No( )
2 State how your claims were presented (written request, verbal request, request for forms): hatso

wt get Back tome ov it ZL oget severl ARP

La

State the date your claims were presented: Ves Vy 17 otf

4 State the result of the procedure: Ko ALE

2
2

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STATEMENT OF CLAIM
UT. State here as briefly as possible the facts of your case. Describe how each defendant is involved Also, include the names of
other persons involved, dates, and places. Do not give any legal arguments or cite any cases or statutes. If you intend to allege

a number of different claims, number and set forth each claim ina separate paragraph. (Use as much space as you need, atiach
extra sheet if necessary.)

I kaWlo Lawe Claim Db img held (nw Kasfady _
unlAiy Fal ly by M O66, Ficld Jigs Babterf
Ove £ bet. ou Adare bee lourlty

RELIEF

lV State what rehef you seek from the court. Make no Jegal arguments. Cite no cases or statutes

Dl pypat p Sum for my IG Apu th beng place
in Noyobec TAil aw MO.0C Hdd Sar. tate ke
f 100,000 neh Release on ELS

signed this @3 day of Ne =. 20 if
hoeeh Dre Lery
CMCF lola Mer, dan

Signature of plamnuff, prisoner number and address of
plainnff

1 declare under penalty of perjury that the foregoing is true and correct.

We B~ fer Lot Lore]

(Date} Signature of plaintiff

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6198]. Equa) nghts under the Jaw

(a) Statement of equa] nghts. All persons within the junsdiction of the United States shal] have the same ngbt in every
State and Terntory to make and enforce contracts, to sue, be parties, give evidence, and to the full and equa} benefit of
all laws and proceedings for the security of persons and property as is enjoyed by white citizens, and shall be subject to
like punishment, pains, penalties, taxes, licenses, and exactions of every kand, and to no other.

(>) "Make and enforce contracts" defined. For purposes of this section, the term "make and enforce contracts” includes
the making, performance, modification, and termination of contracts, and the enjoyment of all benefits, pivileges,
terms, and conditions of the contractual relationship.

(c) Protection against impairment. The nghts protected by this section are protected against unpaimment by
nongovernmental discnmunation and impairment under color of State law.

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§ 398]. Equal nghts under the law

(a) Statement of equal nghts. All persons within the junsdiction of the United States shall have the same nght in every
Siate and Jerrilory to make and enforce contracts, to sue, be parties, grve evidence, and to {he full and equa) benefit of
al] Jaws and proceedings for the secunty of persons and property as is enjoyed by white citizens, and shal] be subject to
like punisluwent, pains, penaltes, taxes, licenses, and exactions of every kind, and to no other.

(b) "Make and enforce contracts" defined. For purposes of this section, the term "make and enforce contracts” includes
the making, performance, modification, and termination of contracts, and the enjoyment of al) benefits, pnvileges,
terms, and conditions of the contractua} reJationship.

(c) Protection against impainnent. The nghts protected by this section are protected against impaument by
pnongovemmental discnminaton and impament under color of State law

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§ 1983. Civil action for deprivation of nghts

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42 USCS § 1983

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Temtory ar the
Distnet of Columbia, subjects, or causes to be subjected, any citizen of the United States or other person within the
junsdiction thereof to the depnvation of any nghts, privileges, or immunities secured by the Constitution and laws, shal]
be lable to the party injured in an action at law, suit in equity, or other proper proceeding for redress, except that in any
acoon brought againsi a judicial officer for an act or omission taken in such officer's judcial capacity, injunctive rehef
shal] not be granted unless a declaratory decree was violated or declaratory rehef was unavailable. For the purposes of

this section, any Act of Congress applicable exclusively to the District of Cohambia shal! be considered to be a stanite of
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§ 1983. Civil action for deprivation of ngbts

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Termtory or the
Distnct of Columbia, subjects, or causes to be subjected, any citizen of the United States or other person within the
jansdiction thereof to the deprivation of any ngbts, pnivileges, or immunities secured by the Constitution and Jaws, shall
be lable to the party mjured in an action at law, suit in equity, or other proper proceeding for redress, except that in any
action brought against a judicial officer for an act or omission taken in such officer's judicial capacity, mjunctive relief
shall pot be granted unless a declaratory decree was violated or declaratory relief was unavailable. For the purposes of

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§ 1983. Civil action for deprivation of sigbls

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Termitory or the

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42 USCS § 1983

Distnct of Columbia, subjects, or causes 10 be subjected, any citizen of the United States or other person within the
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§ 1983. Civil action for deprivation of nights

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Terntory or the

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§ 1983. CiviJ action for deprivation of nghts

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or the
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§ 1983. Civil action for deprivation of rights

Every person who, under color‘of any statute, ordinance, regulation, custom, or usage, of any State or Territory or the
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42 USCS § 1983

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§ 1983. Crvil action for deprivation of rights

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§ 1983. Civy] action for deprivation of nghts

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Termiory or the
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§ 1983. Civil action for deprivation of nghts

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Termtory or the
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42 USCS § 1985

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42 USCS § 1985

§ 1985. Conspiracy to interfere with civil ngbis

(J) Preventing officer from performing dubes. If two or more persons in any State or Termilory conspire to prevent, by
force, intimidation, or threat, any person from accepting or holding any office, trust, or place of confidence under the
United States, or from discharging any duties thereof, or to induce by hke means any officer of the Umted States to
Jeave any State, district or place, where his dunes as an officer are required to be performed, or io injure him in Ins
person or property on account of his lawful discharge of the duties of his office, or while engaged in the lawful

discharge thereof, os to injure his property so as to molest, interrupt, hinder, or impede him im the discharge of his
official duties; ,

(2) Obstracting justice; intimidating party, witness, or yuror. lf two or more persons in any State or Termtory conspire to
deter, by force, intimidation, or threat, any party or witness in any cowt of the United States from attending such court,
or from testifying 10 any matier pending therem, freely, fully, and truthfully, or 10 injure such party or witness ip hus
person oF propesty on account of his having so attended or testified, or to influence the verdict, presentment, or
indictment of any grand or petit juror ip any such court, or fo wnjure such juror in his person or property on account of
any verdict, presentment, or indictment Jawfully assented o by him, or of his being or having been such juror; or if two
oy more persons conspire for the purpose of impeding; hindenng, obstructing, or defeating, in any manner, the due
course of justice in apy State or Temmtory, with mient to deny to any citizen the equa} protection of the Jaws, or to wnjure

him or bis property for Jawfully enforcing, or attempting to enforce, the ngbt of any person, or class of persons, to the
equal] protection of the laws;

(3) Depniving persons of nghts or pnvileges. If two or more persons m any State or Termtory conspire, or go in disguise
on the highway or on tbe premises of another, for the purpose of depriving, either directly or indirectly, any person or
class of persons of the equal protection of the laws, or of equa] pnvileges and immunities under the laws, or for the
purpose of preventing or hindering the constituted authorities of any State or Terntory from giving or secunng to al)
persons within such State or Temitory the equa] protection of the laws; or if two or more persons conspire to prevent by
force, intimidation, or threat, any citizen who is Jawfully entitled to vote, from giving his suppor or advocacy in a Jega!
manner, toward or in favor of the election of any Jawfully qualified person as an elector for President or Vice-President,
or as ammemmber of Congress of the United States; or to jure any citizen in person or property on account of such
Support or advocacy; in any case of conspyacy set forth in this section, if one or more persons engaged therein do, or
cause to be done, any act in furtherance of the object of such conspiracy, whereby another is injured in his person or
property, or deprived of having and exercising any nght or privilege of a citizen of the United States, the party so

imjured or depnved may have an action for the recovery of damages, occasioned by such injury or deprivation, against
any ope or more of the conspirators.

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42 USCS § 39

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TITLE 42. THE PUBLIC HEALTH AND WELFARE
CHAPTER 73. CIVIL RIGHTS
INSTITUTIONALIZED PERSONS

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42 USCS § 1997

§ 1997 Definitions
As used 19 this Act--
(3) The term "mstitupon"” means any facility or institution--

(A) which 1s owned, operated, or managed by, or provides services on behalf of any State or political subdivision of
a State; and

(B) which is--

()) for persons who are mentally il], disabled, or retarded, or chronically 3) or handicapped:
(1) a jail, prson, or other correctional facility;
(3) a pretrial detention facility,
Ov) for yuvenules--
(1) held awaiting tral,
(11) residing in such facibsty or institution for purposes of receiving care or treatment: or
(IID) residing for any State purpose in such facility or institution (other than a residential facilty providing only
elementary or secondary education that 1s not an mstitubon in which reside yuvemles who are adjudicated delinquent, in
need of supervision, neglected, placed m State custody, mentally il) or disabled, mentally retarded, or chromically ill or
handicapped), or
(v) providing skalled nursing, intermedsate or long-term care, or custodial or residential care.
(2) Pnvately owned and operated facihtes shal] not be deemed "institunons" under this Act if--

(A) the licensing of such facility by the State constitutes the sole nexus between such facility and such State,

(B) the recerpt by such facilty, on bebalf of persons residing in such facility, of payments under title XV1, XVIH, or
under a State plan approved under title XIX, of the Social Security Act [42 USCS §§ 1381 et seg., §§ 1395 et seq., or §§
1396 et seg.}, constitutes the sole nexus between such facility and such State; or

(C) the licensing of such facility by the State, and the receipt by such facility, on behalf of persons residing in such
facility, of payments under title XVI, XVII, or under a State plan approved under title XIX, of the Social Secumry Act
[42 USCS §§ 1381 et seq., §§ 1395 et seq, §§ 1396 et seq], constitutes the sole nexus between such facility and such
State;

(3) The term “person” means an individual, a trast or estate, a partnership, an association, or a corporation;
(4) The term "State" means any of the several States, the District of Columbia, the Commonwealth of Puerto Rico, or
any of the territones and possessions of the United States;

(5) The tenn "legislative days" means any calendar day on which either House of Congress 1s 1m session.

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42 USCS § 19974

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42 USCS § 1997a

§ 1997a. Initiation of civil actions

(2) Discretionary authonty of Attorney General; preconditions. Whenever tbe Attorney Genera] has reasonable cause to
beheve that any State or politica) subdivision of a State, official, employee, or agent thereof, or other person acung op
behalf of a State or political subdivision of a State is subjecting persons residing in or confined to ap inshituhion, as
defined in section 2 [42 USCS § 1997], to egregious or flagrant conditions which deprive such persons of any nghts,
privileges, or immunities secured or protected by the Constitution or Jaws of the United States causing such persons to
suffer grievous harm, and that such deprivation is pursuant to a pattern or practice of resistance to the full enjoyment of
such nghts, pnvileges, or immunities, the Attorney General, for or in the name of the United States, may institute a civ3]
action in any appropriate United States district court against such party for such equitable relief as may be appropnate
to insure ibe minimum comective measures necessary to insure the ful] enjoyment of such nghts, privileges, or
immunities, except that such equitable rehef shal) be avajjable under this Act to persons residing in or confined to an
instituton as defined in section 2(3)(B)(1) (42 USCS § 1997(1)(B)U})} only insofar as such persons are subjected to

conditions which depnve them of ngbts, privileges, or immunities secured or protected by the Constitution of the
United States.

(b) Discretionary award of atiomey fees. In any action commenced under this section, the court may allow the
prevailing party, other than the Umited States, a reasonable atlorney’s fee agarnst the United States as part of the costs.

(c) Attomey Genera) to personally sign complaint. The Attommey General shall personally sign any complamit filed
pursuant to this section.
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42 USCS § 1997b

§ 1997b. Certificavon requirements; Attorney General to personally sign certification

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(a) At the time of the commencespent of av action under section 3 [42 USCS § 199/a] the Atiomey General shall certify
to the coust--

(1) that at Jeast 49 calendar days previously the Attomey General has poufied in whiting the Governor or chief
executive officer and atlorney general or chief legal officer of the appropnate State or polnca) subdivision and the
director of the insutution of--

(A) the alleged conditions which depnve nights, pnvileges, or ummmunities secured or protected by the Constitunon
or laws of the United States and the alleged pattern or practice of resistance to the full enjoyment of sucb nebts,
privileges, or immunities,

(B) the supporting facts gyving rise to the alleged conditions and the alleged pattern or practice, including the dates
or time period during which the alleged conditions and pattem or practice of resistance occurrec, and when feasible, the
identity of all persons reasonably suspected of being involved in causing the alleged conditions and pattern or practice
at the time of the certification, and the date on which the alleged conditions and pattern or prachce were first brought to
the attention of the Attorney Genera]; and

(C) the minimum measures which the Attorney Genera] believes may remedy the alleged conditions and the alleged
pattern or practice of resistance,

(2) that the Attorney General has notified i writing the Governor or chief executive officer and attorney general or
chef legal officer of the appropmate State or political] subdivision and the director of the institubon of the Attorney
General's intention to commence an investigation of such institution, that such notice was delivered at least seven days
prior to the commencement of such mvestgation and that between the time of such notice and the commencement of an
action under section 3 of this Act [42 USCS § 1997a]--

(A) the Attorney General has made a reasonable good faith effort to consult with the Governor or chef executive
officer and attomey general or chief legal officer of the appropriate State or politica] subdsvision and the director of the
institution, or their designees, regarding financial, techmical, or other assistance which may be available from the United
States and which the Attorney General believes may assistin the correction of such condiuons and pattem or practice of
resistance;

(B) the Attorney General has encouraged the appropnate officials to correct the alleged conditions and pattern or
practice of resistance through informal methods of conference, conciliation and persuasion, including, to the extent
feasible, discussion of the possible costs and fiscal impacts of alternative minimum corrective measures, and it 1s the
Attorney General's opinion that reasonable efforts at voluntary correction have not succeeded, and

(C) the Attommey General js satisfied that the appropnate officials have had a reasonable tune to take appropriate
action to correct such conditions and pattern or practice, taking into consideration the ume required to remodel or make
necessary changes in physica] facilities or relocate residents, reasonable Jegal or procedural requirements, the urgency
of the peed to correct such conditions, and other circumstances involved in correcting such conditions, and

(3) that the Attomey General believes that such an action by the United States 1s of general public importance and will
materially further the vindication of ngbts, pnvileges, or mmunities secured or protected by the Constitution or laws of
the United States. ,

(b) The Attorney General shall personally sign any certficatiop made pursuant to this section

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42 USCS §1997c

“CHAPTER 2). CIVIL RIGHTS
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42 USCS §1997c
§ 1997c. Intervention in achons

(a) Discretionary authonty of Attorney Genera); preconditions, time period.

(1) Whenever an action has been commenced in any court of the Umied States seeking relief from egregious or
flagrant conditons which deprive persons residing in instituuons of any nghts, privileges, or immunities secured or
protected by the Constitution or laws of the United States causing them to suffer gnevous harm and the Atlomey
General has reasonable cause {o believe thai such deprivation 1s pursuant to a pattern or practice of resistance to the full
enjoyment of such rigbts, privileges, or immvunsties, the Attorney Genera), for or in the name of the United States, may
intervene in such action upon motion by the Arlomey General.

(2) The Attorney General shall not file a motion 1o intervene under paragraph (1) before 90 days after the
commencement Of thé action, except that if the court determines if would be in the interests of justice, the court may
shorten or waive the time penod.

(b) Cerbfication requirements by Atlorney General.
(1) The Attorney General shal) certify to the court in the motion to intervene filed under subsection (a)--

(A) thal the Atlorey General has notified in wnung, at Jeast fifteen days previously, the Governor or chief
executive officer, attomey general or chief legal officer of the appropriate State or poliucal subdivision, and the director
of the institution--

(G) the alleged conditions which deprive rights, privileges, or immumites secured or protected by the Constitution
or Jaws of the Umited States and the alleged pattern or practice of resistance to the full enjoyment of such rights,
povileges, or immunities;

Gi) the supporting facts giving nse to the alleged conditions, including the dates and time period dunng which the
alleged conditions and pattern or practice of resistance occurred; and

(Gi) to the extent feasible and consistent with tbe interests of otber plaintiffs, the minimum measures which the
Attomey Genera! beheves may remedy the alleged conditions and the alleged pattern or practice of resistance, and

(B) that the Attomey General believes that such intervention by the United States is of genera] public importance
and wil] materially further the vindication of neghts, privileges, or immunities secured or protected by the Constitubon
oy laws of the United States.

(2) The Attorney Genera] shall personally sign any certification made pursuant to this section.

(c) Attomey General {o personally sign motion to intervene. The Attorney General shal] personally sign any motion to
imtervene made pursuant to this section

(d) Discretionary award of attormey fees; other award provisions unaffected. In any action in which the United States
joims as an intervenor under this section, the court may allow the prevailing party, other than the United States, a

reasonable attorney's fee against the United States as part of the costs. Nothing in this subsection precludes the award of
attorney's fees available under any other provisions of the United States Code.

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42 USCS § 39974

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42 USCS § 3997d
§3997d Protibivon of retahation

No person reporung conditions which may constitute a violapon under thus Act shal] be subjected to retallation in any
manneys for so reporung.

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TITLE 42, THE PUBLIC HEALTH AND WELFARE
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42 USCS § 1997e
§ 1997e. Suits by pnsoners

(a) Applicability of administrative remedies. No action shall be brought with respect to pnson conditions ubder section
1979 of the Revised Statutes of the United States (42 U.S.C. 1983), or any other Federal law, by a pnsoner confined in
any jail, prison, or other correctional} facility anti) such admumistrative remedies as are available are exhausted.

(b) Failure of State to adopt or adbere to administrative gnevance procedure. The failure of a State to adopt or adhere to
an administrative grievance procedure shal] pot constitute the basis for an action under section 3 or 5 of this Act [42
USCS § 19974 or 1997c]}.

(c) Dismissal.

()) The court shall on its own motion or on the motion of a party dismuss apy action brought with respect to prison
conditions under section 1979 of the Revised Statutes of the United States (42 USC. 1983), or any otber Federal law,
by a pnsoner confined in any jail, prison, or other correctional facility if the court is satisfied that the action 1s frivolous,
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42 USCS § 1997e

malicious, fails to state a claim upon which rehef can be granted, or seeks monetary rehef from a defendant whois
immune from such relief.

(2) In the event that a claim is, on its face, fnvolous, ma}icious, fails 10 state a claim upon which rehef can be granted,
os seeks monetary relief from a defendant who 3s immune from such relief, the coun may dismmss the underlying claim
vathout firs! requiring the exhausbon of administrative remedies

(d} Attomey’s fees.

(1) In avy action broughi by a prisoner who js confined to any jail, prison, or other correctiona} facility, in which
attorney's fees are authorized under section 2 of the Revised Statutes of the United States (42 U S.C. 1988), such fees
shal} not be awarded, except lo the extent that--

(A) the fee was directly and reasonably incurred in proving an actual violation of the plainuff's mghts protected by a
statute pursuant to which a fee may be awarded under secon 2 of the Revised Statutes; and
(B)
G) tbe amount of the fee 1s proporhonately related to the court ordered relief for the violation; or
(3) the fee was directly and reasonably incurred in enforcing the rehef ordered for the violation.

(2) Whenever a monetary judgment is awarded in an achon described in paragraph (1), a portion of the judgment (not
to exceed 25 percent) shall be appbed to sausfy the ammount of attorney's fees awarded against the defendant. If ihe
award of atiormey's fees is not greater than 150 percent of the judgment, the excess shall be paid by the defendant.

(3) No award of attorney's fees in an action described 1p paragraph (1) shall be based on an hously rate greater than
150 percent of the hourly sate established under section 3006A of ttle 18, United States Code, for payment of
court-appointed counsel.

(4) Nothing in this subsection shal] prohibit a pnsoners from entenng into an agreement lo pay an attorney's fee in an
amount grealer thap the arnount authorized under this subsecuon, if the fee is paid by the mdividual rather than by the
defendant pursuant to section 2 of the Revised Statutes of the Umted States (42 U.S.C. 1988).

(e) Limitation on recovery. No Federa} civil action may be brought by a pnsoner confined in a jail, pnson, or other
correctional facility, for mental or emotional injury suffered while in custody without a prior showing of physical
wmyury.

(f) Heanngs.

(1) To the extent practicable, in any action brought with respect to pnson conditions in Federal court pursuant to
section 3979 of the Revised Statutes of the United States (42 U.S.C. 1983), or any other Federal Jaw, by a pnsoner
confined in any jail, prison, or other correctional facility, pretrial proceedings n which the pnisoner's participation 1s
required or permitted shal] be conducted by telephone, video conference, or other telecormmunications technology
without removing the prisoner from the facility in which the pnsoner 1s confined.

(2) Subject to the agreement of the official of the Federal, State, or Jocal umit of government with custody over the
prisoner, bearings may be conducted ai the facility in which the pnsoner 1s confined. To the extent practicable, the court

shall allow counsel to participate by telephone, video conference, or other communications technology in any hearing
beld at the facility.

(g) Waiver of reply.

(1) Any defendant may waive the ngbt to reply to any action brought by a prisoner confined in any jail, prison, or
other correctional facility under section 1979 of the Revised Statutes of the United States (42 U.S.C. 1983) or any other
Federal] jaw, Notwithstanding any other law or rule of procedure, such waiver shall not constitute an admission of the
allegations contained in the complaint. No relief shall be granted to the plaintiff unless a reply has been filed.

(2) The court may require any defendant to reply to a cormplaint brought under this section if it finds that the plamuff
bas a reasonable opportunity to prevail on the ments.

(bh) "Prisoner" defined. As used in this section, the term “prisoner” means amy person incarcerated or detained im any
facility who is accused of, convicted of, sentenced for, or adjudicated delinquent for, violations of criminal Jaw or the

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terms and conditions of parole, probauon, pretnal release, or diversionary program

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42 USCS § 1997f

§ 1997f, Report to Congress

The Attomey General shal] inchaide in the report to Congress on the business of the Departmen! of Justice prepared
pursuant (o section $22. of pile 28, United States Code--

(1) a statement of the number, vanety, and outcome of all] acuons stituted pursvant to this Act including the history
of, precise reasons for, and procedures followed ip initiation or intervention in each case in which action was
commenced;

(2) a detailed explanation of the procedures by which the Department has received, reviewed and evaluated petitions
or complaints regarding conditions in institutions;

(3) ap analysis of the impact of acbons instituted pursuant to this Act including, when feasible, an estimate of the
costs incurred by States and other political subdivisions; . .

(4) a statement of the financial, technical, or otber assistance which has beep made available from the United States to
the State in order to assist mo the correction of the conditions which are alleged to have deprived a person of nghts,
pnvileges, or immunities secured or protected by the Constitution or laws of the United States, and

(5) the progress made in each Federal institution toward meeting existing promulgated standards for such institutions
or constitutionally guaranteed minima.

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42 USCS § 19972

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42 USCS § 19972
§ 19972. Pnonties for use of funds

[(a)] ]t is the intent of Congress that deplorable conditions in institutions covered by this Act amounting to depnvations
of nghts protected by the Constitution or Jaws of the United States be corrected, not only by bgaton as contemplated
in this Act, but also by the voluntary good faith efforts of agencies of Federal, State, and loca] governments. It is the
further intention of Congress that where Federal funds are available for use in improving such institutions, pnority
should be given to the correction or eliminabon of such unconsutational or egal conditions which may exist. lis not
the intent of this provision to require the redirection of funds from one program to another or from one State to another

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42 USCS § 1997h

§ 1997b. Notice to Federa) departments

At the time of notification of the commencement of an investigation of an institution under section 3 (42 USCS §
1997a] or of the notification of an intention to file a motion to intervene under section 5 of this Act [42 USCS § 1997c},
and if the relevant institution receives Federal financial assistance from the Department of Health and Human Services
or the Department of Education, the Attorney General shal] notify the appropriate Secretary of the action and the
reasons for sucb action and shall consult with such officials. Following such consultation, the Attommey General may

proceed with an action under this Act if the Attorney General is satisfied that such action is consistent with the policies
apd goals of the executive branch.

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